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  6   SANHO CORPORATION
  7

  8
                                 UNITED STATES DISTRICT COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10

 11   SANHO CORPORATION, a Delaware             Case No. 8:20-cv-00735-JLS-DFM
      corporation;
 12                                             FIRST AMENDED COMPLAINT FOR
      Plaintiff,                                PATENT INFRINGEMENT
 13
      v.
      INTELLIARMOR, a California                DEMAND FOR JURY TRIAL
 14
      corporation; INTELLIARMOR LLC, a
 15   Wyoming limited liability company;
      ADAM ANDERSON, an individual;
 16   DOES 1-10;

 17   Defendants.

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  2
              Plaintiff, SANHO CORPORATION (“Plaintiff”), for all causes of action against
  3
      defendants INTELLIARMOR, INTELLIARMOR LLC, ADAM ANDERSON, and DOES
  4
      1-10 (“Defendants”), alleges as follows:
  5

  6                                             INTRODUCTION

  7   1.      This action arises from Defendants’ infringement of Plaintiff’s intellectual property.

  8   Accordingly, Plaintiff prays for monetary and injunctive relief, as set forth herein.

  9                                              JURISDICTION
 10   2.      This is a civil action seeking damages and injunctive relief for patent infringement under
 11   the Patent Act, 35 U.S.C. § 101, et seq.
 12   3.      This Court has subject matter jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §§
 13   1331, and 1338.
 14   4.      This Court has personal jurisdiction over the Defendants because, among other things,
 15   Defendants, including, Does do business in the State of California and in this judicial district, the

 16   acts of infringement complained of herein occurred in the State of California and in this judicial

 17   district, and Defendants, each of them, have caused injury to Plaintiff and its goodwill, and

 18   intellectual property within the State of California, and in this judicial district.

 19                                                   VENUE

 20   5.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), (c), and 1400(b). This

 21   matter has been transferred to this judicial district from the Northern District of California.

 22                                              THE PARTIES
 23   6.      Plaintiff is a Delaware corporation with its principal place of business in Fremont, CA and
 24   does business in California and in the United States.
 25   7.      Defendant INTELLIARMOR, aka intelliARMOR Inc. is a California corporation. It is a
 26   suspended corporation.
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  1   8.     Defendant INTELLIARMOR LLC is a Wyoming limited liability company. On

  2   information and belief, INTELLIARMOR LLC succeeded, purchased, continued, absorbed,

  3   and/or took on all liabilities of INTELLIARMOR—the suspended California corporation—and is

  4   a successor or surviving entity.
      9.     Defendant Adam Anderson is an individual residing in California. He is the CEO of
  5
      INTELLIARMOR and INTELLIARMOR LLC, and is the corporate officer that authorized or
  6
      directed the infringing conducted described herein. Anderson operated INTELLIARMOR while
  7
      the corporation was suspended therein selling infringing products.
  8
      10.    Plaintiff does not know the true names and capacity of defendants sued herein as DOES 1-
  9
      10, and therefore sues these defendants by such fictitious names. Plaintiff is informed and
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      believes, and on the basis of that information and belief alleges, that each of the defendants was in
 11
      some manner legally responsible for the events and happenings alleged in this complaint and for
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      Plaintiff’s damages. Plaintiff will amend this complaint to allege their true names and capacities
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      when ascertained.
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 15
                                             GENERAL AVERMENTS
 16
      11.    Plaintiff Sanho Corporation is a technology company based in Fremont, CA.
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      12.    Plaintiff is the assignee of the following United States patents:
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 19              •   United States Utility Patent No. US 10,572,429 (“429 Patent”) Exhibit A;
                 •   United States Design Patent No. US D855,616 (“616 Patent”) Exhibit B;
 20              •   United States Design Patent No. US D813,875 (“875 Patent”) Exhibit C;
 21              •   United States Design Patent No. US D844,618 (“618 Patent”) Exhibit D;
                 •   United States Design Patent No. US D807,290 (“290 Patent”) Exhibit E
 22                  collectively (“Asserted Patents”).

 23
      13.    In and around 2019, it came to Plaintiff’s attention that Defendants and/or its agents had
 24
      advertised, sold, and offered for sale products embodying the above-listed patents.
 25
      14.    The following products infringe Plaintiff’s 429 Patent, 616 Patent, 875 Patent, and 618
 26
      Patent: INTELLIARMOR – LYNKHUB HD + 7 IN 1 USB C HUB; INTELLIARMOR –
 27
      LYNKHUB PRO 3 IN 1 USB C HUB; INTELLIARMOR – LYNKHUB MACBOOK PRO USB
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  1   C HUB. Defendants, each of them, designed, developed, manufacture, sell, offer to sell these

  2   products into the United States, and in California, and into this judicial district. Defendants, each

  3   of them, import these products into the United States, and in California.

  4   15.    The following products infringe Plaintiff’s 290 Patent: INTELLIARMOR - LYNKHUB
      MEDIA - 4 IN 1 USB C HUB; INTELLIARMOR - LYNKHUB+ 5 IN 1 USB C HUB.
  5
      Defendants, each of them, designed, developed, manufacture, sell, offer to sell these products into
  6
      the United States, and in California, and into this judicial district. Defendants, each of them,
  7
      import these products into the United States, and in California, and into this judicial district.
  8
      16.    In fact, prior to filing a complaint, Plaintiff sent written notice to Defendants regarding
  9
      Defendants’ infringement and demanded that Defendants immediately cease and desist.
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      Defendants refused to cease and desist and has continued its unfair and unlawful scheme.
 11
      Plaintiff is entitled to injunctive relief and redress for Defendants’ willful, intentional and
 12
      purposeful use and exploitation of Plaintiff’s intellectual property with full knowledge that such
 13
      use constituted infringement of, and was in disregard of, Plaintiff’s rights.
 14
 15                                                 COUNT I

 16                                          (Patent Infringement)
                                            (35 U.S.C. § 271, et seq.)
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      17.    Plaintiff re-alleges and incorporates by reference all paragraphs of this Complaint.
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      18.    Defendants have made, used, sold, and offered to sell products infringing the Asserted
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      Patents, and have aided and abetted one another in doing so. Defendant Anderson directed the
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      infringement personally.
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      19.    Plaintiff has suffered damages as the result of Defendants’ direct and/or indirect
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      infringement.
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      20.    Defendants’ infringement is willful, as Plaintiff has demanded that Defendants cease from
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      infringement and the unfair business practices, but Defendants, and their affiliates and agents
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      continue to advertise, sell, and/or offer for sale, the infringing products.
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      21.    As a direct and proximate result of the foregoing acts and conduct, Plaintiff has sustained
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      and will continue to sustain substantial, immediate, and irreparable injury, for which there is no
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  1   adequate remedy at law. Plaintiff is informed and believed and, on that basis, avers that unless

  2   enjoined and restrained by this Court, Defendants will continue to infringe Plaintiff’s rights.

  3   Plaintiff is entitled to preliminary and permanent injunctive relief to restrain and enjoin

  4   Defendants’ continuing infringing conduct.

  5                                        JURY TRIAL DEMAND
  6          Plaintiff hereby demands a trial by jury.
  7
  8
                                           PRAYER FOR RELIEF
  9
      1.     That judgment be entered in favor of Plaintiff against Defendants;
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      2.     That Defendants, their officers, agents, servants, employees, attorneys, parents,
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      subsidiaries, affiliates, successors be declared to have infringed, induced others to infringe, and/or
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      committed acts of contributory infringement, with respect to the Asserted Patents;
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      3.     That Defendants, their officers, agents, servants, employees, attorneys, parents,
 14   subsidiaries, affiliates, successors, and all others in active concert or participation with them or
 15   acting on their behalf be permanently enjoined from further infringement of the Asserted Patents;
 16   4.     That Defendants, their officers, agents, servants, employees, attorneys, parents,
 17   subsidiaries, affiliates, successors, and all others in active concern or participation with them or
 18   acting on their behalf be preliminarily and permanently enjoined from engaging in any trade
 19   practices whatsoever, including those complained of herein, which tend to unfair compete with or
 20   injure Plaintiff’s business and the goodwill associated therewith;
 21   5.     That Plaintiff be awarded compensatory, lost profits, and special damages for the

 22   infringement in an amount to be determined at trial; the extent of Defendants’ total profit and

 23   revenue realized and derived from its infringement, and actual damages to Plaintiff in an amount

 24   not less than a reasonable royalty for Defendants’ infringement and/or as provided pursuant to 35

 25   U.S.C. § 289;

 26   6.     Treble or enhanced damages pursuant to 35 U.S.C. § 284 for Defendants’ willful and

 27   deliberate infringement, and as permitted under other applicable laws;

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  1   7.     An award of costs together with Plaintiff’s reasonable attorney’s fees pursuant to 35

  2   U.S.C. § 285 for this case being exceptional, and as permitted under other applicable laws;

  3   8.     For restitution;

  4   9.     That the Court otherwise award Plaintiff enhanced damages and attorneys’ fees;
      10.    That Plaintiff be awarded pre-judgment interest;
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      11.    For any statutory damages or penalties;
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      12.    For an accounting of, and the imposition of a constructive trust with respect to,
  7
      Defendants’ profits attributable to their infringements of intellectual property; and
  8
      13.    For such other and further relief as the Court may deem just and proper.
  9
 10
             WHEREFORE, a demand for jury trial is made.
 11
 12
      Dated: May 18, 2020                                    Respectfully submitted,
 13                                                          ARI LAW, P.C.
 14
 15
                                                    By:      /s/ Benjamin Martin, Esq.
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  1                                     CERTIFICATE OF SERVICE

  2   I hereby certify that on May 18 2020, I caused to be electronically transmitted the foregoing
  3   document to the Clerk of the Court using the CM/ECF system for filing and transmittal of a Notice
  4
      of Electronic Filing to these participants who are registered CM/ECF users, and will be served by
  5
      the CM/ECF system:
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 15                                                        SANHO CORPORATION

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